2:25-cv-02649-DCN-MHC                Date Filed 03/28/25         Entry Number 1-3          Page 1 of 7




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

 LOUISE BROWN, THOMAS DIXON &
 WILLIAM J. HAMILTON, III                                    2:25-cv-02649-DCN-MHC
                                                       CASE #____________
 Plaintiffs,

 vs.                                                   AFFIDAVIT OF THOMAS DIXON

 CITY OF CHARLESTON, an incorporated
 municipality and political subdivision of the State
 of South Carolina & WILLIAM S. COGSWELL,
 JR., Mayor of the City of Charleston, in his
 official capacity,
 Defendants.


The Plaintiff, Pastor Thomas Dixon, after first being sworn, deposes and says as follows:

       1.​ The Plaintiff, Pastor Thomas Dixon, has read and reviewed the Complaint and Motion

          filed herein.

       2.​ He knows the content of the Complaint and Motion to be true based upon his personal

          knowledge, saving and except those matters therein stated upon information and belief

          and as to those, he believes them to be true.

       3.​ To provide historic content, Pastor Thomas Dixon and other community leaders were

          instrumental in preventing destruction at the street level in the cities of North Charleston

          and Charleston in the aftermath of the 2015 murder of Walter Scott and the massacre

          inside of Mother Emanuel. Because of the racial overtones in each of these situations,

          neither law enforcement nor city officials had the ability to contain nor prevent what had

          the potential to be the worst destruction to befall these cities in peacetime. It was street

          people, community leaders like Pastor Thomas Dixon, who kept violence from erupting

          in the streets in both incidents that occurred within 3 months of each other, not the police.




                                               Pastor Thoms Dixon Affidavit, Brown v. Charleston, Page 1
2:25-cv-02649-DCN-MHC           Date Filed 03/28/25        Entry Number 1-3         Page 2 of 7




  4.​ In May 2020, in response to the murder of George Floyd, in Charleston, SC, the affiant,

     along with hundreds of others, engaged in a peaceful protest march. As this march

     dissipated, a large group of younger, inexperienced protestors, influenced by outside

     agitators, took to King Street causing considerable damage into the night. This was

     during the pandemic and after President Trump had made several incendiary statements

     about the death of George Floyd. The next morning following the vandalism, theft and

     break ins on King Street, the affiant and several other prominent senior progressive

     community leaders, including members of the State Legislature, stepped forward in an

     effort to rebuild relationships that had been broken by that one night of violence and to

     find a way to dispel the anger and frustration that drove these younger ones to hostility,

     even though their efforts in the past were successful, calming the storm before anything

     got out of control.

  5.​ The young people were very angry and frustrated. They had lived their entire lives in the

     shadow of 9-11, the economic crash of 2008, right wing push back against President

     Obama and the election of Donald Trump. Many were veterans of the Occupy Walstreet

     and Black LIves Matter movement.

  6.​ It was very apparent that many of them were exceptionally pessimistic about their future

     and the future of the society which surrounded them. They struggled against rising

     income inequality, staggering rents, low wages, student loan debt, a lack of reliable

     transit and low wages. They were unable to make economic progress within their lives.

     Public forums for creative citizenship were unavailable to them. Most worked full time or

     longer, but they were unable to match the economic and civic accomplishments of their




                                         Pastor Thoms Dixon Affidavit, Brown v. Charleston, Page 2
2:25-cv-02649-DCN-MHC           Date Filed 03/28/25        Entry Number 1-3         Page 3 of 7




     parents. They faced unwarranted insults and abuse from older conservatives locally who

     told them they were lazy and should leave Charleston.

  7.​ These young people mostly worked in the local hospitality, medical and food and

     beverage industry where appearing happy and hospitable is a necessary skill needed to

     earn tips, which was the key to their survival. They are accomplished at presenting a

     happy face to tourists and local patrons. This professional mask hid an incredible amount

     of rage and frustration focused on their government, the city they see as exploiting them

     to entertain privileged tourists, the impossibility of home ownership or traditional family

     life, dependence on their parents for supplementary income and a concern about climate

     change and the future of the planet.

  8.​ They were angry about the fact that they felt Charleston’s culture and politics

     marginalized their involvement and voices. The most common response they received to

     their efforts was that this was a red state and they should leave. They did not believe

     traditional demonstrations would force the establishment to permit change.

  9.​ We conducted most of our discussions with these young people around the Confederate

     Defenders of Charleston monument at the Battery, which has been the site of protests for

     years.

  10.​The process of talking down this incendiary movement was long and trying. I’ve worked

     with younger people for over 20 years in Charleston and their attitudes have grown

     darker and more pessimistic. I understood that the fate of the City’s built environment

     and the future of its civic culture was in our hands. The drumbeat of right wing anger

     which surrounded us increased the pressure.




                                         Pastor Thoms Dixon Affidavit, Brown v. Charleston, Page 3
2:25-cv-02649-DCN-MHC            Date Filed 03/28/25        Entry Number 1-3          Page 4 of 7




  11.​Without going into all detail, we were eventually able to talk down most of these young

     people down by pointing to the upcoming November 2020 Presidential Election as a

     source of relief, which we were sure would push Donald Trump out of American politics

     forever. We also promised to help include them in more effective demonstrations and

     protests and to yield a more prominent role to them in our efforts in the future. The city

     agreed to tear down the Calhoun monument on Marion Square as a peace offering and

     repudiation of Calhoun and the City’s support of slavery. The monument had been a site

     of protest and provided a dramatic background to their efforts.

  12.​The protests and crowds diminished and in November, Donald Trump was defeated.

  13.​The availability of historically significant locations for protest and assembly was critical

     to our success. We knew that a large-scale riot with arson and vandalism in the city, in the

     midst of the pandemic, would poison political and civic life in Charleston for decades.

     Indeed, the limited rioting and vandalism which did take place in 2020 has done enduring

     damage to the community’s capacity to work together to solve problems.

  14.​Many of these young people have withdrawn from Civic and community life. I’m

     convinced they see the failure to burn the city to the ground as a lost opportunity. A small

     number have built on the experience to become responsible, productive activists able to

     work in the increasingly pessimistic and abusive environment the city’s more restrictive

     limits on free speech have created. Many have left Charleston for places they believe

     offer cultures and opportunities more likely to enable a higher quality of life. Most were

     bright motivated young people who could have contributed a lot to Charleston’s future

     had they stayed.




                                          Pastor Thoms Dixon Affidavit, Brown v. Charleston, Page 4
2:25-cv-02649-DCN-MHC             Date Filed 03/28/25          Entry Number 1-3           Page 5 of 7




  15.​Driving out younger activists and social justice advocates is clearly a part of the long

      term, right wing agenda for South Carolina and Charleston. As a result a higher

      percentage of our activists are older. Many are now caring for elderly parents while they

      themselves are senior citizens. Their children often leave the area for better opportunities

      elsewhere. We now know that our demonstrations and protest actions have to account for

      the older and more fragile physical conditions of ourselves and others.

  16.​All of us are told to leave if we don’t like the right wing drift of life in SC. It is clear that

      many people do not welcome our voices despite decades and lifetimes of service to the

      community. Most of us feed the homeless, do charity work, support faith communities,

      do environmental work, participate in artistic life and help maintain and improve the local

      environment through litter cleanups and similar activities in addition to being political

      and social justice activists.

  17.​Assigning our demonstrations to areas where they will not be seen and times when noone

      is around is a basic tactic the city is using to cripple the effectiveness of our efforts.

  18.​Marion Square and Brittlebank Park have been traditional, accessible and visible spaces

      for social justice witnesses in Charleston. Marion Square has been used for these

      purposes since at least the 1850s. Marion Square is close to public transit, restaurants,

      bathrooms and the College of Charleston.

  19.​I do not believe that I and the surviving local senior leadership could conduct the work

      needed to save Charleston now as well as we did in 2020 due to the restrictions in the

      new ordinance.

  20.​In March 2025, I was the principle speaker at a rally in Hampton Park (see image at left).

      Over 400 people attended. The City of Charleston refused to allow us to use one of the




                                            Pastor Thoms Dixon Affidavit, Brown v. Charleston, Page 5
2:25-cv-02649-DCN-MHC            Date Filed 03/28/25        Entry Number 1-3         Page 6 of 7




     PA systems we had available. We were forced to conduct the rally using a small bullhorn.

     I was inaudible to large parts of the crowd.

  21.​Many of the people present asked me why we didn’t have PA. Their impression was that

     we were not serious or well organized. We did in fact have several adequate PA systems

     available and could have done sound reinforcement in a manner which did not violate the

     noise ordinance.

  22.​On the date of our planned demonstration on Daniel Island, the Cooper River Bridge Run

     and Walk will be held. In the past there have been several sound and music stations set up

     along the route into the city, some sponsored by local radio stations. I believe that will

     happen again on April 5, 2025. This amplified sound reaches residential areas of the city

     well before 9 am. The City approves this. The Bridge Run also causes traffic congestion

     and closes off a major local bridge and several city streets. Again the city approves this.

  23.​I am informed and believe that our demonstration, like the Cooper River Bridge run is a

     constitutionally protected public assembly under the First Amendment. Participants and

     supporters have the same right of free speech that we do.

  24.​I would suggest that it is illegal and inappropriate to deny political demonstrators the

     tools to be heard that the City eagerly approves for the Bridge run.

  25.​If the City insists that we should be forced to work with inadequate sound reinforcement

     at 1 pm in the afternoon on Daniel Island while the bridge run is allowed to rattle the

     peninsula at 8 am with thousands of watts of amplified music and announcements, it can

     be read as nothing other than the decision that favored people connected to tourism and

     commerce are to be heard so they can have fun while its own Citizens, working to save

     their country, are to be silenced.




                                          Pastor Thoms Dixon Affidavit, Brown v. Charleston, Page 6
2:25-cv-02649-DCN-MHC              Date Filed 03/28/25        Entry Number 1-3          Page 7 of 7




   26.​The Plaintiff Pastor Thomas Dixon has read the above statements and knows them to be

       true, saving and accepting those matters alleged upon information and belief and as to

       those, he believes them to be true.


_____________________________
(/S/) Thomas Dixon
Pastor Thomas Dixon

Sworn to before me this ___________ day of March, 2025

Notary public for South Carolina

_____________________________
My Commission Expires:___________

I hereby attest that I have on file all holographic signatures corresponding to any signatures
indicated by a conformed signature (/S/) within this e-filed document.​

(/S/) William J. Hamilton, III​
Attorney at Law




                                             Pastor Thoms Dixon Affidavit, Brown v. Charleston, Page 7
